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                                   UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLUMBIA

                                                        )
     UNITED STATES OF AMERICA,                          )
                                                        )
                                                        )
                            v.                          ) Case No. 1:21-cr-138
                                                        )
     AARON MOSTOFSKY,                                   ) District Judge James E. Boasberg
                                                        )
            Defendant.                                  )
                                                        )

             DEFENDANT MOSTOFSKY’S NOTICE OF FACTUAL SUPPORT FOR
                    STATEMENTS MADE IN STATUS CONFERENCE

           Defendant Mostofsky, through his counsel, submits this notice to provide factual support

    for a representation his counsel made in today’s status conference.

           Mostofsky’s counsel represented that although the government insists that Mostofsky

    stipulate to a sentencing enhancement for interference with the “administration of justice,” see

    USSG §2J1.2(b), the government has all but conceded that its § 1512(c)(2) charge in the January

    6 cases does not involve the “administration of justice.” The government has repeatedly made

    this concession because it claims it does not even regard it as one: its key argument is that the

    relevant “proceeding before the Congress,” § 1515(a)(1)(B), does not have to involve the

    “administration of justice,” in this context, a congressional inquiry or investigation.

           When counsel made this point in the status conference, one of the government’s attorneys

    shook their head as if to say the representation was not accurate. Accordingly, in order to show

    the Court counsel’s claim was not inaccurate, Mostofsky provides the following citations to

    recent briefs filed by the government:

•    Government’s position regarding whether the Section 1512(c)(2) charges at issue in the
     January 6 cases involve the “administration of justice,” quoted from government brief in
     United States v. Grider, 21-cr-222, p. 9 (emboldening added):

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           “The defendant nonetheless contends that only ‘proceedings before Congress related to
     the administration of justice’ qualify as “official proceedings.” D.E. 21-1 at 13 (emphasis
     added). Even assuming arguendo that the Electoral College vote certification—execution
     of a constitutional duty and federal law fundamental to our system of governance—is
     unrelated to the “administration of justice,” this crabbed reading finds no support in
     statutory text or caselaw. ‘Statutory construction must begin with the language employed by
     Congress’—here, ‘a proceeding before the Congress’—and the assumption that the ordinary
     meaning of that language accurately expresses the legislative purpose.”

•    Government’s position regarding whether the Section 1512(c)(2) charges at issue in the
     January 6 cases involve the “administration of justice,” quoted from government brief in
     United States v. William Pepe, 21-cr-52, p. 8. n. 3 (emboldening added):

           “Congress is not a federal agency and department, and the certification of the
    Electoral Collect vote is not an ‘inquiry or investigation.’”

•    Government’s position regarding whether the Section 1512(c)(2) charges at issue in the
     January 6 cases involve the “administration of justice,” quoted from government brief in
     United States v. Nordean, 21-cr-175, p. 21 (emboldening added):

            “In support of this assertion, Defendant states baldly that 1512(c) has ‘never been
    used to prosecute a defendant for [] obstruction … unrelated to the administration of
    justice.’ Id. Indeed, as discussed herein, the touchstone is the formality of the proceeding,
    not the procedural or structural format. For Defendant to suggest that there was no ‘fair
    notice’ that ‘a proceeding before the Congress’ (as defined in 18 U.S.C. § 1515(a)(1)(B))
    included a Joint Session with statutorily-required formal procedures simply cannot be credited.
    Simply because Section 1512(c)(2) has never been applied to the unprecedently brazen attack
    that Defendant and others carried out on the Capitol does not mean that a ‘person of ordinary
    intelligence’ would fail to understand that a statute prohibiting impeding or obstructing
    congressional proceedings encompassed such conduct.”

•     Government’s position regarding whether the Section 1512(c)(2) charges at issue in the
     January 6 cases involve the “administration of justice,” quoted from government brief in
     United States v. Brady Knowlton, 21-cr-46 (D.D.C. 2021), p. 12 (emboldening added):

    3. The “proceeding before Congress” is not limited to proceedings solely related to the
    administration of justice
            The defendants incorrectly ask this Court to limit the interpretation of the “proceeding
    before the Congress” to encompass only the “corrupt obstruction of proceedings before Congress
    related to the administration of justice such as a congressional committee investigating a
    violation of the law where witnesses are subpoenaed to appear and give testimony or to provide
    relevant evidence.” Mot. 13. But this narrow reading of the statute finds no textual support when
    applied to Section 1515(a)(1)(B), which speaks broadly of a proceeding “before the Congress.”
    Had Congress wanted to import a definition that more closely resembled a quasi-adjudicative
    setting, as the defendant contends, it needed look only a few provisions away to 18 U.S.C. §
    1505, which criminalizes obstruction of “the due and proper administration of the law under
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which any pending proceeding is being had” by a federal department or agency. Indeed, § 1505
expressly criminalizes obstruction of “any inquiry or investigation [that] is being had by”
Congress, including by congressional committees and subcommittees. 18 U.S.C. § 1505; see
United States v. Bowser, 964 F.3d 26, 31 (D.C. Cir. 2020). If Congress could limit the
obstruction prohibition under § 1505 to congressional investigations, it could have done so in the
text of § 1515(a)(1)(B). But it did not. Instead, Congress enacted broader language—“a
proceeding before the Congress”—to cover a broader range of proceedings than the “inquir[ies]
and investigation[s]” envisioned in Section 1505. That broader definition includes the Electoral
College vote certification.

        Rather than engage with Section 1515’s text, defendants rely on “surrounding
statutory provisions” and “legislative intent” to argue that the certification of the Electoral
College vote is not an “official proceeding” because it does not affect the “administration of
justice.” Mot. 8-12. That approach fails in three respects. First, it is methodologically
flawed. To determine the meaning of a statute, the Court “look[s] first to its language, giving the
words used their ordinary meaning.” Levin v. United States, 568 U.S. 503, 513 (2013) (quoting
Moskal v. United States, 498 U.S. 103, 108 (1990)). In ordinary parlance, a gathering of the full
Congress to certify the Electoral College vote is a congressional proceeding, a proceeding before
the Congress. Because Section 1515(a)(1)(B)’s words “are unambiguous, the judicial inquiry is
complete.” See Babb v. Wilkie, 140 S. Ct. 1168, 1177 (2020) (internal quotation marks omitted).
The defendant offers no rationale for breezing past the statute’s plain text to reach for other
interpretive tools.

        Second, the other statutory tools on which defendants purport to rely do not aid
their argument. Defendants contend (Mot. 8) that Section 1512’s title—“Tampering with a
witness, victim, or an informant”—implies that the “official proceeding” definition in Section
1515 does not cover the Electoral College vote certification. But this contention runs headlong
into “the wise rule” that neither “the title of a statute” nor “the heading of a section” can “limit
the plain meaning of the text.” Brotherhood of R.R. Trainmen v. Baltimore & Ohio R. Co., 331
U.S. 519, 528-29 (1947).6 In any event, the specific statutory provision under which defendants
are charged, 18 U.S.C. § 1512(c)(2), explicitly reaches more broadly than tampering: it “operates
as a catch-all to cover otherwise obstructive behavior that might not constitute a more specific”
obstruction offense. United States v. Petruk, 781 F.3d 438, 447 (8th Cir. 2015) (quoting United
States v. Volpendesto, 746 F.3d 273, 286 (7th Cir. 2104)).

        Other provisions outside § 1512, such as those elsewhere in Chapter 73, have even less
bearing on the plain meaning of § 1512(c)(2). Mot. 10. If anything, those neighboring
provisions—which criminalize obstruction of other types of investigations and protect judges,
jurors, witnesses and the like—merely underscore how robustly Congress sought to penalize
obstructive conduct across a vast range of settings. That Congress wished to penalize efforts to
obstruct everything from a federal audit to a bankruptcy case to an examination by an insurance
regulatory official only crystallizes that it is more the acts of obstructing, influencing, or
impeding—than the particular type of hearing—that lie at “‘the very core of criminality’ under
the statute[s].” Williamson, 903 F.3d at 131.




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        Finally, the defendants’ narrowed reading of “proceeding before the Congress” in
18 U.S.C. § 1515(a)(1)(B)—importing an extra-textual “administration of justice”
requirement— would undercut the broad statute that Congress enacted. Other than a
reference to “a congressional committee investigating a violation of the law where witnesses are
subpoenaed to appear and give testimony or to provide relevant evidence,”7 Mot. 13, the
defendant does not explain which congressional proceedings would fall within the ambit of his
narrowed definition. That crabbed approach fails to recognize that the certification of the
Electoral College vote is an official proceeding that is “crucial to the conduct of government”
and therefore “entitled to go forward free of corrupting influences that not only delay [it] but
increase the chances of false and unjust outcomes.” Sutherland, 921 F.3d at 426. Whatever the
outer limits of a “proceeding before the Congress” for purposes of the obstruction statute, the
Electoral College vote certification falls well within them. . . 1


Dated: September 9, 2021                             Respectfully submitted,


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                                                     Counsel to Mostofsky


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  Defendants’ challenge fails even if they were correct—and they are not—that for a proceeding
to constitute an “official proceeding” under the obstruction statute, that proceeding must be
related to the “administration of justice.” Far from informal, the certification of the Electoral
College vote comprises features that resemble an adjudicative proceeding. It involves the
convening of a Joint Session of Congress, a deliberative body over which a government officer,
the Vice President as President of the Senate, “presid[es].” 3 U.S.C. § 15. That body convenes to
render judgment on whether to certify the votes cast by Electors in the presidential election. As
in an adjudicative setting, parties may lodge objections to the certification, and if any such
objection is lodged, each House must consider the objection and make a “decision” whether to
overrule or sustain it. Id. And just as a jury does not (barring a mistrial) recess until it has a
reached a verdict, the Joint Session cannot “be dissolved” until it has “declared” a “result.” 3
U.S.C. § 16.
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                                     Certificate of Service
       I hereby certify that on the 9th day of September, 2021, I filed the foregoing notice with

the Clerk of Court using the CM/ECF system, which will send a notification of such filing (NEF)

to the following CM/ECF user(s):

              Graciela Lindberg
              Assistant United States Attorney
              555 4th Street, N.W.
              Washington, D.C. 20530

       And I hereby certify that I have mailed the document by United States mail, first class

postage prepaid, to the following non-CM/ECF participant(s), addressed as follows: [none].


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